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    7
                             UNITED STATES DISTRICT COURT
    8
                            CENTRAL DISTRICT OF CALIFORNIA
    9
                                      WESTERN DIVISION
   10
   11                                            Case No.: 2:15-cv-04194-DDP-JC
        MARK STOYAS, NEW ENGLAND
   12   TEAMSTERS & TRUCKING                     MEMORANDUM OF POINTS AND
        INDUSTRY PENSION FUND, and               AUTHORITIES IN SUPPORT OF
   13                                            MOTION FOR LEAVE TO
        AUTOMOTIVE INDUSTRIES
                                                 PARTICIPATE AS AMICUS
   14   PENSION TRUST FUND, individually         CURIAE
        and on behalf of all others similarly
   15                                            Date: June 7, 2021
        situated,
                                                 Time: 10:00 a.m.
   16                                            Courtroom: 9C
                        Plaintiffs,              Judge: Hon. Dean D. Pregerson
   17
               v.
   18
        TOSHIBA CORPORATION, a
   19
        Japanese Corporation,
   20
                        Defendant.
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                                                           MEMORANDUM OF POINTS AND AUTHORITIES;
                                                                      CASE NO. 2:15-cv-04194-DDP-JC
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    1         INTRODUCTION
    2         The Ministry of Economy, Trade and Industry of Japan (“METI”) is a
    3 ministry of the government of Japan. Its mission includes developing Japan’s
    4 economy and industry by focusing on promoting economic vitality in private
    5 companies and smoothly advancing external economic relationships. METI
    6 respectfully moves for leave to participate as an amicus curiae in connection with
    7 Plaintiffs’ Motion for Class Certification in this action.
    8         ARGUMENT
    9         A “district court has broad discretion to appoint amici curiae.” Hoptowit v.
   10 Ray, 682 F.2d 1237, 1260 (9th Cir. 1982), abrogated on other grounds by Sandin v.
   11 Conner, 515 U.S. 472 (1995). The “classic role” of amici curiae is “assisting in a
   12 case of general public interest, supplementing the efforts of counsel, and drawing
   13 the court’s attention to law that escaped consideration.” Miller-Wohl Co., Inc. v.
   14 Comm’r of Labor and Indus., 694 F.2d 203, 204 (9th Cir. 1982).
   15         “District courts frequently welcome amicus briefs from nonparties
   16 concerning legal issues that have potential ramifications beyond the parties directly
   17 involved or if the amicus has ‘unique information or perspective that can help the
   18 court beyond the help that the lawyers for the parties are able to provide.’” Safari
   19 Club Intern. v. Harris, 2015 WL 1255491 at *1 (E.D. Cal. Jan. 14, 2015) (citing
   20 NGV Gaming, Ltd. v. Upstream Point Molate, LLC, 355 F.Supp.2d 1061, 1067
   21 (N.D. Cal. 2005)). Courts often rely on amicus briefs from foreign governmental
   22 entities in deciding issues that touch on matters of international comity. See e.g.,
   23 Cooper v. Tokyo Elec. Power Co., 860 F.3d 1193, 1206 (9th Cir. 2017) (citing
   24 amicus brief of the Government of Japan in assessing issue of international comity);
   25 Gerling Glob. Reinsurance Corp. of Am. v. Quackenbush, 2000 WL 777978, at *1
   26 (E.D. Cal. June 9, 2000) (citing amicus brief of Federal Republic of Germany in
   27 assessing state law’s effect in foreign countries). “The touchstone is whether the
   28 amicus is ‘helpful,’ and there is no requirement ‘that amici must be totally
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                                                             MEMORANDUM OF POINTS AND AUTHORITIES;
                                                                        CASE NO. 2:15-cv-04194-DDP-JC
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    1 disinterested.’” Cal. v. U.S. Dept. of Labor, 2014 WL 12691095 at *1 (E.D. Cal.
    2 Jan. 14, 2014) (citing Hoptowit, 682 F.2d at 1260).
    3         METI brings unique information and perspective to the issues implicated in
    4 this putative class action and should be granted leave to submit a brief concerning
    5 these issues. Specifically, METI’s submission will offer perspective and
    6 information concerning the potential legal and economic repercussions of class
    7 certification on Japanese capital markets, issuers, industries, and the country’s
    8 economy, as well the implications the Court’s ruling may have on Japanese
    9 securities laws and international comity. Because this caseand, in particular,
   10 Plaintiffs’ pending Motion for Class Certificationimplicates important public and
   11 international interests with ramifications beyond the parties directly involved,
   12 METI should be granted leave to submit a brief on these issues.
   13         CONCLUSION
   14         For the foregoing reasons, METI respectfully requests that the Court grant
   15 leave for it to participate as amicus curiae and to submit a brief in opposition to
   16 Plaintiffs’ Motion for Class Certification.
   17
   18 Dated: April 29, 2021
                                                    SADAT LAW GROUP
   19
   20                                               By:_/s/ Arash Sadat        ________
   21                                                      Arash Sadat

   22                                               Attorneys for Movant
   23                                               Ministry of Economy, Trade and
                                                    Industry of Japan
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                                                              MEMORANDUM OF POINTS AND AUTHORITIES;
                                                                         CASE NO. 2:15-cv-04194-DDP-JC
